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                                                                                        United States Bankruptcy Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                         IN THE UNITED STATED BANKRUPTCY COURT                                 May 16, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                    GALVESTON DIVISION

IN RE:                                                    §
                                                          §        CASE NO: 22-80095
WALKER HOSPITALITY LLC,                                   §
                                                          §
            Debtor.                                       §
                                                          §
                                                          §        CHAPTER 11

                                           SHOW CAUSE ORDER

           The debtor filed this Chapter 11 case on May 13, 2022. In federal courts, it is well
established that a corporation cannot proceed pro se and must be represented by counsel. The
corporate debtor in this case is not currently represented by an attorney.
           THEREFORE, IT IS ORDERED that an agent for Walker Hospitality LLC appear and
show cause why this case should not be dismissed due to the corporate debtor’s failure to be
represented by an attorney.
           IT IS FURTHER ORDERED that a hearing to address the terms of this show cause order
shall be held at 11:00 a.m. on June 1, 2022, in Courtroom 403, 515 Rusk Street, Houston, Texas.
           Parties should consult the Court’s website for instructions on appearing in court.1
Parties may appear in person or virtually by video.
           SO ORDERED.
            SIGNED 05/16/2022


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




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    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman
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